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Astoria, New York 11103
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email@ortizandortiz.com
Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:                                                        Case No.: 17-11542-mg

JOE’S PLACE OF THE BRONX, NY, INC.,

                                   Debtor.                    Chapter 11
------------------------------------------------------X

     DEBTORS’ EX PARTE MOTION FOR AN ORDER FIXING METHOD OF
   SERVICE AND SHORTENING NOTICE PERIOD OF THE DEBTORS’ MOTION
   FOR AN ORDER DESIGNATING AIDA TORRES AS A RESPONSIBLE PERSON
     PURSUANT FED. R. BANKR. PROC. 9001(5) AND FOR RELATED RELIEF


TO:     THE HONORABLE MARTIN GLENN,
        UNITED STATES BANKRUPTCY JUDGE:

        Joe’s Place of The Bronx, NY, Inc. (the “Debtor”), by and through its undersigned

counsel, by and through its Ortiz & Ortiz, L.L.P., hereby moves under 11 U.S.C. § 105(a),

Federal Rule of Bankruptcy Procedure Rule 9006(c), and Rule 9077-1 of the Local Bankruptcy

Rules for the Southern District of New York (“Local Rules”), for the entry of an order shortening

the notice period and fixing method of service of the Debtors’ Motion for an Order Pursuant to

Sections 105(a) and Fed. Rule Bankr. Proc. 9001 Designating Aida Torres as a Responsible

Person to act on the Debtor's Behalf (the "Motion"). In support, the Debtors state as follows:

                                                Background

        1.       The Debtor filed a voluntary chapter 11 petition on June 2, 2017 (the “Petition
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Date”).

          2.   The Debtor operates a restaurant located at 1841 Westchester Avenue, Bronx, NY

10472 (the “Restaurant”).

          3.   The Debtor’s sole shareholder and sole officer passed away on pr about April 17,

2020. The Restaurant is closed and there is no one with the legal authority to act on the Debtor’s

behalf.

          4.   The Debtor seeks a shortened hearing period on the Motion because the estate

property must be secured and the Debtor’s case must be wound down as soon as possible. The

delay in winding down the Debtor’s affairs is harmful to the Debtor’s creditors because laibilities

continue to accrue on the Debtor’s post-petition obligations.

                                         Relief Requested

          5.   The Debtor requests that the Court shorten the notice period required for the

Motion to permit a hearing on the Motion on April 30, 2020. The Court has scheduled a hearing

on confirmation the Debtor’s plan of reorganization on that day.

          6.   Local Rule 9006-1 provides in relevant part that Motions should be brought on 14

days notice unless provide other wise in the Federal Rules of Bankruptcy Procedure or as

otherwise ordered by the court. In addition, Bankruptcy Code section 105(a) provides that the

Court, “may issue an order . . . necessary or appropriate to carry out the provisions of [the

Bankruptcy Code.] 11 U.S.C. § 105(a).

          7.   Because of the time-sensitive nature of the Motion, the Debtor requests that the

Court enter an order permitting a hearing on the Motion on April 30, 2020. The Debtor also

requests that the Court permit the undersigned to limit notice and permit email service upon the


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following parties: The U.S. Trustee, the Debtor’s Landlord’s bankruptcy and landlord counsel,

N.Y.S. Department of Taxation and Finance, Divorce Counsel to Joe Torres’s spouse, the

Debtor’s daughter Emmy Dubarek, all parties that have filed a Notice of Appearance, and all

creditors that have filed a proof of claim and have provided an email address for communication.

The undersigned’s office is closed as a non-essential business and mailing notice to all creditors

would have to be performed by a third party. Because of the emergent nature of the request, and

the likelihood that the request will not be contested, the undersigned submits that such notice is

reasonable and adequate under the circumstances.

        12.     No previous application for relief requested herein has been made to this or any

other court.

        WHEREFORE, the Debtor respectfully requests that the Court grant the relief requested

herein and grant such other and further relief as is just.

Dated: New Paltz, New York
       April 23, 2020
                                                              /s/Norma E. Ortiz
                                                              Norma E. Ortiz, Esq.
                                                              Ortiz & Ortiz, L.L.P.
                                                              32-72 Steinway Street, Ste. 402
                                                              Astoria, NY 11103
                                                              Tel. (718) 522-1117
                                                              Counsel to the Debtor




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                 DECLARATION OF NORMA E. ORTIZ
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:                                                         Case No.: 17-11542-mg

JOE’S PLACE OF THE BRONX, NY, INC.,

                                   Debtor.                     Chapter 11
------------------------------------------------------X

                   BANKR. E.D.N.Y. LOCAL RULE 9077-1 DECLARATION

        Norma E. Ortiz, a partner of Ortiz & Ortiz, L.L.P., counsel to the above-captioned

Ddebtor, hereby declares as follows:

        1.       As set forth in greater detail in the accompanying Motion to Designate Aida

Torres as a Responsible Person, Joe Torres, the sole shareholder of the Debtor and the only

person authorized to act on the Debtor's behalf, has passed away. I can not take any action on the

Debtor's behalf unless someone is appointed to authorize me to, among other things, negotiate a

surrender of the space to the Debtor's landlord and move to dismiss the case. I have explored

seeking the appointment of someone through the Surrogate's Court, but have determined it will

take too long because of the court's closure. I also do not believe that the Debtor's assets are part

of Joe Torres' estate.

        2.       My office has been closed since all non-essential businesses have been closed. I am

able to perform services virtually. However, service by mail remains a challenge. I can serve by

mail through a third-party, such as certificateofservice.com, but I believe, under the circumstances

of this case, that email to the parties I listed in the attached motion would reach them sooner.

Moreover, there has been virtually no creditor participation in this case for the last three years:

only the Landlord and N.Y.State have appeared and participated. Despite writing and emailing

creditors to request that they vote on the Debtor's plan of reorganization, only one unsecured
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creditor responded and accepted the plan.

       3.      For these reasons, I request that the Court grant the request to shorten time and

limit notice and authorize service by email.

       I swear under the penalty of perjury that the foregoing is true and accurate.

Dated: New Paltz, New York
       April 23, 2020

                                                             /s/Norma E. Ortiz
                                                             Norma E. Ortiz
                                                             Ortiz & Ortiz, L.L.P.
                                                             32-72 Steinway Street, Ste. 402
                                                             Astoria, NY 11103
                                                             Tel. (718) 522-1117
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                              Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:                                                          Case No.: 17-11542-mg

JOE’S PLACE OF THE BRONX, NY, INC.,

                                   Debtor.                      Chapter 11
------------------------------------------------------X

 ORDER FIXING METHOD OF SERVICE AND SHORTENING NOTICE PERIOD OF
   DEBTORS’ MOTION FOR AN ORDER DESIGNATING AIDA TORRES AS A
  RESPONSIBLE PERSON PURSUANT FED. R. BANKR. PROC. 9001(5) AND FOR
                         RELATED RELIEF

        Upon the Debtor's Motion for an Order Fixing Method of Service and Shortening Notice

Period of the Motion for an Order Designating Aida Torres as a Responsible Person (the

“Motion”), by its counsel Ortiz & Ortiz LLP, and the supporting Declaration of Norma E. Ortiz;

and it appearing that good cause exists under Local Bankruptcy Rule 9077-1 for shortening the

notice requirements for the Motion and limitng service to email to the parties on the annexed

proposed service list; it is hereby

        ORDERED, that the Motion to Shorten Time is hereby granted to the extent provided

herein; and it is further

        ORDERED, that notice of the Motion is hereby shortened and limited as provided herein;

and it is further

        ORDERED, that by April __, 2020, the Debtor shall serve the Motion and supporting

documents and this Order by electronic mail to the parties on the annexed service list. Such

notice shall constitute good and sufficient notice; and it is further

        ORDERED, that objections, if any, to the Motion shall be filed by April __ , 2020; and it

is further
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       ORDERED, that a hearing on the Motion shall be held telephonically on April 30, 2020,

at _____. Any party interested in appearing telephonically at the hearing must contact the

Chambers of the Hon. Martin Glenn for instructions on appearing telephonically no later than 48

hours before the scheduled appearance.

Dated: April __, 2020
New York, New York
                                                            ____________________________
                                                            HON. MARTIN GLENN
                                                            U.S. BANKRUPTCY JUDGE
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                                   Service List
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                          JOE’S PLACE OF THE BRONX, NY, INC.
                                     Approved Service List

 Creditor                              Method        Creditor                           Method of
                                       of                                               Service
                                       Service

 Enid Nagler Stuart, Esq.,             EMAIL         Nestor Rosado, Esq.                Email
 Attorney General for the State of                   Divorce Counsel to Jose
 N.Y.
                                                     Torres’s Spouse
 120 Broadway, 24th Flr.
 New York, New York 10271                            neslaw2@msn.com

 American Express                      EMAIL         N.Y.S. Dept. of Labor              Fax to (
 Becket & Lee                                        State Office Campus, Building      518)
 PO Box 3001                                         #12                                457-9378
 Malverne, PA 19355-0701                             Room #256
                                                     Albany, NY 12240
 I.R.S.                                Fax           New York Wine & Spirits            None
 Centralized Insolvency Operation      855 260       10 Dunnigan Drive
 Post Office Box 7346                  6645          Suffern, NY 10901
 Philadelphia, PA 19101-7346                         (Same as Manhattan Wine)
 Manhattan Beer Dist. LLC              Fax           U.S. Trustee’s Office              EMAIL
 Manhattan Beer Dist.                  (718)         201 Varick Street
 955 149th Street                      292-          New York, NY 10014
 Bronx, NY 10455                       6348
 Rick A. Steinberg, Esq.               E-MAIL       R. Yonks, & Associates, Inc.        EMAIL
 Price, Meese, Shulman &                            c/o Kevin A. Stevens, P.C.
 D’Arminio, P.C.                                    98 Lafayette Avenue
 50 Tice Boulevard, Suite 380                       Suffern, NY 10901
 Woodcliff Lake, NJ 07677                            kevin@kstevenslaw.com
 NYC Department of Finance             None          STERLING NAT'L BANK                MAIL
 Tax, Audit and Enforcement            Fax or        c/o Wilson Elser
 Division                              email         1133 Westchester Avenue
 345 Adams Street, 10th Floor          not           White Plains, NY 10604
 Brooklyn, NY 11201                    available     david.tillem@wilsonelser.com
 Jonathan Katz, Esq.                   Email                                            MAIL
 Landlord-Tenant Counsel to the
 Landlord
 jonathan@jskatz.law


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